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                        UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                  CASE NO. 14CR2735-LAB

                      Plaintiff,
                vs.                        JUDGMENT OF DISMISSAL
CHRISTIAN ALFREDO VILLELA-
BERNADAC,

                      Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

X    the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

X    of the offense(s) as charged in the Information:

     21 USC 841(a)(1) - Possession with Intent to Distribute a Controlled

     Substance; 18 USC 2 - Aiding and Abetting

          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


DATED: 2/5/15
                                           Jill L. Burkhardt
                                           U.S. Magistrate Judge
